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Fall 2012/No.11 USA$5.99/CAN$7.99 [Eau
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Case 1:15-cv-00701-JWF Be 60- 7 Filed 08/30/18 Page 2 of 2

WWORPACEALTP
CBD for Everyone!

Using a proprietary extraction
process and a strain of high-CBD hemp
grown ina secret, foreign location,
Colorado's Dixie Elixirs and Edibles now
offers a new product line called Dixie X,
which contains o% THC and up to 500 mg
of CBD. This new CBD-rich medicine will
be available in several forms, including a
tincture, a topical and in capsules.
Promoted as “a
revolution in medicinal
hemp-powered
wellness,’ the non-
psychoactive products
will first roll out
in Colorado MMCs
(medical marijuana
centers), with
plans to quickly
expand outside
the medical-
marijuana
market.
“Tt has taken
a tremendous
amount of time,

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Cannabis Superfood Sandwich
Chef Mike Delao of Cannabis Planet TV has been seeking the best
way to administer marijuana as an edible medicine for years. He
cut out sugar and animal fats after learning that eating those foods
causes the body to expel energy constantly in order to digest.

“This is an issue for patients who are sick,’ Chef Mike explains.
“They need their bodies to fully absorb the natural essential oil from

money and ,
effort, but finally cannabis, so they can receive the medicinal properties of the plant. I
oa) Bled patients here in want patients’ bodies to spend energy on healing, not digestion.”

Colorado—and
ultimately all
individuals who
are interested
in utilizing CBD
for medicinal

At Earthly Juices, a detox juice bar in Tustin, CA, Chef Mike
discovered that by consuming all natural plants and elixirs, the body
can be healed. ‘My advice is to detox cleanse your body, and then
start to eat foods like this recipe. It has a good amount of healthy fat
that the body can burn quickly while keeping your insides fresh and

Jean!”
benefit—will be able to ee
have access to it,” says Tripp Keber, Dixie's :
managing director. “We are importing Ingredients:

2 tablespoons medicated coconut oil*, warm enough to spread
1 avocado, sliced

1 teaspoon sea salt

1 lemon, juiced and some sliced thin for garnish

4 slices of tomatoes

\% cup cilantro, chopped

4 Wasa crackers

industrial hemp from outside the US using
an FDA import license-it’s below federal
guidelines for THC, which is 0.3%—and we
are taking that hemp and extracting the
CBD. We have meticulously reviewed state
and federal statutes, and we do not believe
that we're operating in conflict with any
federal law as it’s related to the Dixie X

emp derived prods ise Spread the infused coconut oil on the crackers, sprinkle some sea

salt, then layer the slices of avocado, then tomato, add lemon juice,
cilantro and garnish with fresh cannabis leaves. Stones 2

*To infuse cannabis into coconut oil, simmer 1 oz of cannabis
buds in 2 oz. of coconut oil and % cup water on low heat (or ina
Crockpot) for six to 12 hours. Strain with cheese cloth, and let cool
in the refrigerator. Separate the hard coconut oil from the liquid and
use as directed. i

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COURTESY OF DIXIE ELIXIRS (2), CHEF MIKE DELAO (1)

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